                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:12cr69-FDW

UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       )       FINAL ORDER AND JUDGMENT
       v.                                              )         CONFIRMING FORFEITURE
                                                       )
(1) DAPATRICK MARQUE RICHARDSON,                       )
                                                       )
                       Defendant.                      )


       On September 4, 2012, this Court entered a Preliminary Order of Forfeiture pursuant to

21 U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s plea of guilty to

Count Two in the Bill of Indictment and evidence already on record; and was adjudged guilty of

the offenses charged in those counts.

       On September 27, 2012 through October 26, 2012, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from September 27, 2012 for a hearing to adjudicate the validity of

any alleged legal interest in the property.    It appears from the record that no such petitions have

been filed. Based on the record in this case, including the defendant’s plea of guilty, the Court

finds, in accordance with Rule 32.2(c)(2), that the Defendant had an interest in the property that

is forfeitable under the applicable statute.

       It is therefore ORDERED:

       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as

final. All right, title, and interest in the following property, whether real, personal, or mixed, has




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therefore been forfeited to the United States for disposition according to law:

       One Smith and Wesson, model SW9VE, 9mm pistol, serial number RBD7226 and
       ammunition.

                                               Signed: February 14, 2013




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